       Case 2:15-cv-00567-CJB-JCW Document 9 Filed 12/12/17 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 In Re: Oil Spill by the Oil Rig “Deepwater                     MDL No. 2179
        Horizon” in the Gulf of Mexico, on             *
        April 20, 2010                                 *        SECTION: J
                                                       *
 This Document Relates to:                             *        JUDGE BARBIER
 No. 15-567                                            *
                                                       *        MAG. JUDGE WILKINSON
                                                       *


                         ORDER OF DISMISSAL WITH PREJUDICE

        Plaintiff Christine Reitano has moved to dismiss all claims against Louis J. Freeh and Freeh

Group International Solutions, LLC with prejudice. Defendants Louis J. Freeh and Freeh Group

International Solutions, LLC have consented to dismissal with prejudice.               The Court has

considered the motion and concludes that Plaintiff’s claims should be dismissed with prejudice,

with each party to bear its own costs, fees, and expenses.



        IT IS THEREFORE ORDERED that case No. 15-567 and all claims brought by Plaintiff

against Louis J. Freeh and Freeh Group International Solutions, LLC are hereby DISMISSED with

prejudice to the re-filing of same. All costs, fees, and expenses relating to this litigation (including

attorney and expert fees and expenses) shall be borne solely by the party incurring such costs. This

is a final judgment.


      New Orleans, Louisiana this 12th day of December, 2017.




                                                      United States District Judge



NOTE TO CLERK: Enter in 10-md-2179 and 15-567
